          Case 6:15-cv-02336-TC         Document 89       Filed 08/27/19     Page 1 of 11




I 00 FIRES LAW PC
Jose Cienfuegos
Attorney at Law
4500 Kruse Way, Suite 390
Lake Oswego, OR 97035
503-548-1593
jose@ lOOfireslaw.com


                             IN TH E UN ITED STATES DI STRICT COU RT

                                FOR THE DI STRICT OF OREGON



BILLY GOSTEVSKYH,
                                              Case No. 6: l 5-cv-0233 6-TC
                Plaintiff,
                                              PLAINTIFF'S RESPONSE TO
v.                                            DEFENDANT' S OBJECTIONS
                                              TO MAGISTRATE JUDGE
JASON MEYERS AND                              COFFIN'S FINDINGS AND
MARION COUNTY,                                RECOMMENDATIONS
                                              REGARDING SUMMARY
               Defendants                     JUDGMENT




                  OBJECTION TO MAG ISTRATE'S REPORT AN D RECOMMENDATION
                               GRANTING SUMMARY .JUDGM ENT

        Plaintiff responds to the Defend ant's Obj ections To Magistrate Judge Coffin's Findings

and Recommendations Regarding Summary .Judgment in the above captioned matter wherein

Judge Coffin denied Defendant' s summary judgment motion. This Obj ection is fil ed pursuant to

Fed. R. Civ. P 72(b) and 28 U.S.C.636(b)( I).


                                          De Novo Review

     As a preliminary matter, under Fed. R. C iv. P. 72(b), the district judge must consider any

obj ections to a Magistrate ' s Findings & Recommendations ("F&R'') de novo "The di strictjudge

must dete1mine de novo any part of the magistrate judge's di sposition that has been properly
I -PLAI NTIFF ' S RESPONSE TO DEFENDANT ' S OBJECTION TO MAGISTRATE JUDGE OFFIN ' S
FINDINGS AND RECOMMENDATIONS REGARDING SUMMARY JUDGMENT
           Case 6:15-cv-02336-TC          Document 89        Filed 08/27/19       Page 2 of 11




objected to" . 28 U.S .C . 636(b)( l ). Any parts of the Magistrate' s Findings which are not

objected to may be either ( I ) approved if they are free of error, or (2) not reviewed at all . See

generally, 28 U.S.C. 636(b)(l). Rule 72 requires any objections be specific and de novo review

be given only for the parts of the di sposition that have been "properly obj ected to" .

          Defendant has not objected to the finding of facts as laid out in the Findings and

Recommendations by Judge Coffin, nor did the Defense indicate that there were any errors in

those finding of facts. Defendant has made clear her succi nct objections and enumerated them

in her objections, as stated be low. As such , the facts should be approved as stated by Judge

Coffin.

                        SUMMARY OF OBJECTIONS BY DEFENDANT

          A.      Failing to sh(ft the burden to Plaint([[ to provide spec(ficfacts lo support his claims.

          In support of his response, Plaintiff has attached the entirety of the transcript from the

oral arguments on Defend ant's Motion for Summary Judgement as Exhibit 1, which was held

on July 3, 20 19, at the United States District Court fo r the District of Oregon, Eugene Division.

The Defense claims that she had met her initia l burden of proving that there was no genuine

issue as to any material fact. The reality is that the Defe nse had failed to meet its initia l burden

as the moving party and failed to prove that the initia l facts found by Magistrate Judge Coffi n

did NOT demonstrate that there were genuine issues of material facts that go directly to the

Plaintiffs claims.

          B.     Improperly relying on material that would not be admissible in evidence and.facts

not subject to properjudicial notice as the basisfor their determination. The Defense concocts

an issue fo r her motion by claiming that the Judge re lied on facts from a story he told the parties

during oral arguments. There is nothing from the story that the Mag istrate told the parties in the

courtroom during oral arguments that appears in the Finding and Recommendations suggesting


2 - PLAINT IF F' S RESPONSE TO DEFEN DAN T' S OBJECTION TO MAG I STRATE JUDGE OFFIN ' S
FIN DINGS AND RECOMM ENDATIONS REGARDI NG SUMMARY JUDGMENT
         Case 6:15-cv-02336-TC          Document 89       Filed 08/27/19      Page 3 of 11




that any part of that personal story was relied upon by Magistrate Judge Coffin when cone!uding

that the Defendant's Motion fo r Summary Judgment should be denied .

                                  PROCEDRUAL POSTURE

       Pla intif f s law suit was fil ed on December 15, 20 15. Depositi ons of several empl oyees

of Marion County were taken by the Plaintiff, including Sheriff Meyers, several guards whom

transported, observed, and had direct contact with Plaintiff, persons who provide medical care

for Plaintiff, including nurses and Dr. V itells, the onl y physician at Marion County Jail.

Discovery was asked for and received, including some policies. Marion County objected to

and failed to provide all of w hat was requested by Plaintiff. Material generated from

di scovery, as well as declarations from Plaintiff, notes from Plaintiff, and the actual requests

for medical care (Medical Request Forms, or MRFs) and ltmrnte Grievance Forms, medica l

notes from care providers, declarations from county counsel, Sheri ff Meyer, Deputy Tad

Larson, and some policies were presented to the bench by both parties during the Summary

Judgment proceedings. It is from thi s material that Magistrate Judge Coffin based his finding

of facts upon in hi s Findings and Reconu11endations, and, correctly fo rmed the basis for his

deci sion to deny Defendant's Motion for S ummary Judgment.

                                  ST ANDA RD OF RE VIEW

        Rule 56(c) of the Federal Ru les of C ivil Procedure provides that summary judgment

"shall be rendered forthwith if the pleadings, depositions, answers to interrogatories, and

admissions on fil e, together with the affidavits, if any, show that there is no genuine issue as to

any material fact and that the moving party is entitled to a judgment as a matter of law."

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-248,(1986). By its very terms, this standard

provides that the mere existence o f some alleged factua l dispute between the parti es will not




3 - PLAI NTI FF ' S RESPONSE TO DEFEN DANT ' S OBJECT I ON TO MAGISTRATE JUDG E OFFIN ' S
FI NDINGS AND RECOMMEN DATIO NS REGA RDING SUMMARY JUDGMENT
         Case 6:15-cv-02336-TC          Document 89        Filed 08/27/19      Page 4 of 11




defeat an otherwise properly supported motion for summary judgment; the requ irement is that

there be no genuine issue of material fact.

       " As to materiality, the substantive law will identify whi ch facts are material. Only

disputes over facts that might affect the outcome of the suit under the governing law will

properly preclude the entry of summary judgment. Factual disputes that are irrelevant or

unnecessary w ill not be counted. '. See general ly lOA C. Wright, A. Miller, & M. Kane, Federal

Practice and Procedure 2725 , pp. 93 -95 (1983) as quoted in Anderson at 248. The court must

draw all reasonable inferences from the evidentiary record in favor of the non moving party.
                                                                                   111
T.W. Elec. Serv., Inc. v. Pacific Elec. Contractors Asso., 809 F.2d 626, 630 (9 Cir. 1987).


               A moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c);

Celotex Corp. v. Catrett, 477 U.S. 3 17, 322-24 (1986); US v. Diebold, Inc., 369 U.S. 654, 655

(1962) (stating that on summary j udgment the inferences to be drawn from the underlying facts

contai ned in the documents submitted must be viewed in the light most favorab le to the party

opposing the motion). What should be noted initially is that the De fendant moved for summary

judgment supported by only some conclusory declarations and the complaint. The "facts" set

forth in the ini tial motion did not reference any of the extensive depositions or the medical

record, but instead provided a carefoll y managed and cherry picked vers ion of the case. It is this

very behavior that is the focus of Magistrate Judge Coffin's critical Fi ndings and

Recommendations.


        Plaintiff responded to the ini tial motion with contrary facts, fl eshed out the entire story

supported by the depositions, medical records and other evidence adm issible under rule 56. And

whi le counsel for the Defense takes issue with the fact that Magistrate Judge Coffin gave

Plaintiff additional time to supplement hi s response, it should be noted that if a party has


4 -PLAI NT IFF ' S RES PONSE TO DE FENDANT ' S OBJECTION TO MAGISTRATE J UDG E OFFIN ' S
FI NDINGS AND RECOMME NDATIONS REGARDING SUMMARY JUDGME NT
         Case 6:15-cv-02336-TC            Document 89       Filed 08/27/19      Page 5 of 11




somehow fai led to comply w ith the fo rmalities of Rul e 56, a court may choose to be somewhat

lenient in the exercise of its discreti on to deal w ith the deficiency. The non-moving party, who

receives the benefit of all factua l interpretation and inferences, is a llowed a greater discretion in

its submissions that the movant. School District No. IJ Multnomah County Orv AcondSi Inc., 5

             111
F.3d 1255 (9 Cir. 1993), citing to Schc11.fv. United States Attorney General 597 F. 2d 1240,

1243 (9111 Cir. l 979); Celotex Corp v. Catrett, 477 U.S. 3 17, 324 ( l 986). Affidavits and

declarations of the party opposing summary judgment ·'should be indulgently treated" . Do.ff'v.
                                           111
Burnswick Corp. , 372 F.2d 80 1, 804 (9 Cir. 1966). As to comments fro m the Defense on the

sufficiency of Plaintiff s evidence, It should also be noted that it is improper at this stage of the

proceeding for the court to make credi bility findings or to rule on the admissibility of the

evidence. If the evidence is presented by the Plaintiff shows that it is of the type which could be

admitted at trial then it can be considered by the court to determine whether issues of fact exist.

A declaration of a party is ad missible and can be used to construe factua l differences.

                   As to the Magistrates Findings and Recommendati ons, after a review of a ll facts

and evidence presented by Pla intiff and the Defendant, and viewed in the light most favorab le to

the non moving party, the Plaintiff, the bench made a finding of facts, wh ich conclusively set

forth several issues that ind icate not only questions of material facts, but those that go directly to

Plaintiff s case. Exhibit 2, pg 3. Specifi cally, and importantly, Magistrate Judge Coffi n fo und

from the facts presented that the Plaintiff suffered fro m seri ous medical needs and that the

county's actions and inactions, via its po licy created de li berate indifference; " It is undisputed

that the Pla intiff s transfer to the Transition Center and its effect on hi s medi cal care needs was

pursuant to an official pol icy of the Jai l or Marion County." See Exhibit 2, pg 11.

        Whi le Magistrate Judge Coffin found against the Plaintiff in several of his theories of

misconduct and de liberate indifference by Marion County a nd its' employees, he did narrow the


5 - PLAI NTIFF ' S RESPONSE TO DEFENDANT ' S OBJECTION TO MAGISTRATE J UDGE OFFIN ' S
FINDI NGS AND RECOMMENDATIONS REGARDING SUMMARY JUDGMENT
         Case 6:15-cv-02336-TC           Document 89       Filed 08/27/19      Page 6 of 11




issue as to what he be! ieved set forth questions of material facts that would effect the outcome of

the suit under governing law, that being deliberate indifference via Marion County's policies,

that is the transfer of the Plaintiff to the Transition Center. Exhibit 2, pg 9. A reading of the

Magistrate ' s opinion on this issue shows a strong concerns and very c lear findings of facts going

directly to Plaintiffs theory of hi s case.

        It is important to unpack the evidence that Magistrate Judge Coffin was presented with

prior to arguments on Summary Judgment that caused him this alarm and concern, and

ultimately created an issue that should go to the factfinder. Plaintiffs inj ury occurred on

December 2 1, 20 13. An appointment was then schedu led to see the j ail doctor, Dr. Aaron

Vitells. On December 30, after a nine day delay and several urgent request from the Plaintiff,

Dr. Vitells was presented w ith a chronic injury to Plaintiffs eye that the doctor admitted was

beyond his expertise and that hi s clinic lacked the proper tools to treat. As such, Dr. Vitel ls

ordered that P laintiff see a spec ialist, an ophtha lmostat, "as soon as possible". Plaintiff was then

transferred, only I 0 days into his 180 sentence, the day after Dr. Vite lls ordered Plaintiff see a

specialist, to the Transition Center, where an inmate is subject to a seven day blackout period.

Whi le at the Transition Center Pla intiff could not go anywhere or contact anyone during the

blackout period. After said blackout period he was then responsible for his own medical care,

both in scheduling and financially. Plaintiff was then transferred back to the j ail, 3 days later, for

unknown reasons. During this time Plaintiff made several requests fo r medical care, filled out

grievance fo rms, and even on the day of the transfer, plead with j ail staff for treatment to hi s

deteriorating eye injury and ongoing T rigeminal Neu ralga. Per jail po licy, thi s transfer was done

"Voluntarily".

        A reading of the transcript from oral arguments gives important insight into the issue at

hand. Magistrate Judge Coffin was presented with a factual scenario from the evidence


6- PLAINT I FF ' S RESPONSE TO DEFEN DA NT ' S OBJ ECTION TO MAGISTRATE JUDGE OFFI N' S
FINDINGS AND RECOMMENDAT IONS REGARDING SUMMARY JUDGMENT
         Case 6:15-cv-02336-TC            Document 89        Filed 08/27/19       Page 7 of 11




presented by Plaintiff that gave rise to several questio ns o f material facts that go directly to the

questio n of Pla intiff's case of c la iming an injury due to deliberate indifference via an offi cial

county poli cy. Why was he transferred a day after bei ng seen by the doctor for what was

considered a serious and chronic medi cal conditio n to a facility where this appointment would

not be made e ither timely or fac ilitated by the j ail ? Why place an indi vidual w ho is suffering an

injmy such as this in a fac ility w here he will be subject to a week lo ng ·'Blackout Period"? Why,

if thi s is supposedly a "voluntary" transfer by the P laintiff, would he ··choose" this optio n if he

has done nothing but repeatedly request immediate medical care for painful and deteriorating eye

injury? Why was he transfetTed to the Transiti on Center o nly 10 days into his sentence of 180

days? Why was he transferred w hen Dr. Vittels had ordered Pl aintiff see a speciali st at the

expense of the County just a day before? These are materi al questions of fact that the Defendant

did not address in her Motion for Summary Judgment. The answers to these questions were not

forthcoming in discovery, nor were they fo rthcom ing in oral arg uments when posed to counsel

for Defendant. In fact Magistrate Judge Coffin we nt so fa r as to say that the defense was being

"evasive" in its answers. The answers to these questions are not ones that will readily come from

Defendant, a nd are solely within the control of the Defendant. Only a factfinder will be able,

after hearing fro m the Defendant herself, to determi ne if answers to these many questions, if

given, are credible or not, and if based on the totality of the evidence, that Plaintiff has made its

case.

        "The movant has the bu rden of showing that there is no genuine issue of fact, but the

P laintiff is not thereby relieved of hi s own burden of producing in turn evidence that would

support a jury verdict. Rule 56(e) itse lf provides that a party opposing a pro perly supported

motion for summary judgment may not rest upon mere all egation or deni als of his pleading, but

must set fo rth specific facts showing that there is a genuine issue fo r tri al." Anderson at 256.


7 - PLA INT IF F' S RESPONSE TO DE FENDANT ' S OBJECTION TO MAGISTRATE JUDGE OFFIN ' S
FIN DINGS AND RECOMMENDATIONS REGARDING SUMMARY JUDGME NT
         Case 6:15-cv-02336-TC           Document 89        Filed 08/27/19      Page 8 of 11




Before the hearing started, and upon the pleadings and evidence submitted, Magistrate Judge

Coffin was presented with enough evidence submitted by the Plaintiff that shows clearly that

there are several material issues at play that support a j ury verdict fo r the plaintiff. These facts

presented are not simply allegations, but rather indicate deliberate indi fference via Marion

County 's po licy and procedures. Defendant, the moving party, was given ample opportunities to

attempt to meet its burden of showing that there were no material issues of fact in this case, and

they had lost before they started. Simply put, the Defense never met its burden initially to prove

that there were NO genuine issues of fact.

        The " Red Flag" scenario that is discussed in the transcript and that is so "Troubling" to

the bench in this case suggest that there was an improper reason for the transition of the Plaintiff

to the Transition Center, based on policy and procedure of the County, and that the treatment of

the Plaintiff via this policy constituted deliberate indifference of his seri ous medical needs. The

discussion between counse l for Defendant and the bench demonstrates two things: 1) That the

infonnation that would answer these questions is entirely within the possession and control of the

Defendants; 2) That as such, the only proper way to answer these questions is to proceed to tria l

to let a jury determine these issues.

        Prisoners are entitled to medica l care during their custodial time at the same level as

that which is provided in the community. Denial of access to standard of care medical

treatment or de lay in treatment constitutes de liberate indifference to the pri soner's protected

constitutional rights. Estelle v. Gamble, 429 U.S. 97 , 104 (1976) (intentionally denying or

delaying access to medical care); Page v. Norvell, 186 F. Supp. 2d 11 34, (D. Or. 2000)(de lay of

treatment causing some harm); De lker v. Maass, 843 F. Supp. 1390, 1400-01 (D. Or. 1994) and

Wood v. Su1m, 865 F. 2d 982, (9th Cir. l 988)(fai li ng to respond to pain and other problems);

                                          1
McGuickin v. Smith, 974 F.2d 1050, (9 h C ir. l 982)(defendants repeatedly fa iled to treat inmates


8 - PLAINT I FF ' S RESPONSE TO DEFEN DANT' S OBJECT I ON TO MAGISTRATE J UDG E OFFIN' S
FI NDI NGS AND RECOMMEN DATIO NS REGARDING SUMMARY JUDGMENT
         Case 6:15-cv-02336-TC          Document 89        Filed 08/27/19      Page 9 of 11




properly or single egregious event strongly suggests deliberate indifference). Even where

medical care is eventually provided to the prisoner, the prison authorities may be held to have

violated the deli berate indifference standard if there is evidence of delay of medical care.

McElligott v. Foley, 182 F. 3d 1248, (1 1111 Cir. 1999); Caldwell v. District of Columbia, 20 1 F.

Supp. 2d 27 , (D.DC 200 l )(deliberate indifference fo und where treatment delayed for substantial

periods of time despite repeated grievances and delay caused condition to worsen).

       "We repeat, however, that the plaintiff, to survive the defendant's motion, need only

present evidence from w hich a j ury might return a verdict in hi s favor. If he does so, there is a

genuine issue of fact that requires a trial." Anderson at 257. "More important for present

purposes, summary j udgment will not lie if the dispute about a material fact is "genuine," that is,

ifthe evidence is such that a reasonable jury could return a verdict fo r the nonmoving party. In

First Nationa l Bank of Arizona v. Citi es Service Co., 39 1 U.S. 253 , ( 1968)." Anderson at 248.

       T he burden on the movant is to provide sufficient infonnation to demonstrate they are

entitled to a judgment as a matter of law. On ly disputes over facts that might affect the outcome

of the suit under the governing law w ill properly preclude the entry or summary judgment.

Factual disputes that are irrelevant or unnecessary will not be counted. See generally 1OA C.

Wright, A. Mi ller, & M. Kane, Federal Practice and Procedure§ 2725, pp. 93-95 , (1983).

Summary judgment will not lie if the dispute about a materi al fact is "genuine," that is, if the

evidence is such that a reasonab le jury could return a verdict for the nonmoving party.

Anderson at 248.

        Magistrate Judge Coffi n properly made finding of facts that alone create facts that affect

the outcome of the suit under the governing law regarding Plaintiff's case. These facts are not

iITelevant or unnecessary and are in fact evidence that a reasonable jury could return a verdict

for the Plaintiff. As the Magi strate states in his Find ings and Recommendations, '· ... justice is


9 - PLAINTIFF ' S RESPONSE TO DEFENDANT ' S OBJECTION TO MAG I ST RAT E JUDGE OF FI N' S
FI NDINGS AND RECOMMEN DATIONS REGARDING SUMMARY JU DGMENT
        Case 6:15-cv-02336-TC           Document 89        Filed 08/27/19         Page 10 of 11




not served by concluding th is case at summary judgment when evidence has not been forth

coming" . Exhibit 2, pg 13.

       As to Defendant' s second objection. A reading of the Findings and Recommendations

attached as Exhibit 2 makes it clear that Magistrate Judge Coffin did not rely on any part of, or

any facts from, his personal story related to the parties in oral arguments.

       In fact, reading the transcript, Exhibit 1. it is clear to any reader that the bench was

simply responding to one of Counse l for Defendant's answers to the bench's questi ons about

the facts of the case. Starting on pg 23 of the transcript the discussion between counse l fo r the

County and the bench turns on Mr. Glaccum' s interpretation of the words " as soon as possible"

fro m Dr. Vitells records. Mr. Glaccum stated that this wording did not imply an " emergent

situation" . The bench, in responding, stated that he disagreed w ith counsel, and then gave the

story about his son, and his son' s eye inj ury, and what it may mean when a doctor says that

someone needs to be seen soon. What is clear at this point is that the purpose of the story is to

indicate that specialists are hard to schedule, and that when doctors say that someone needs to

be seen soon by a specia list, it does not mean that it is not an emergency. It just happens that

the story about scheduling a specialist involved an inju ry to his son ' s eye.

        There is nothing in the record of the Findings and Recommendations that hint to, state,

or even suggest that Magistrate Judge Coffin used any of the facts fro m hi s personal story in hi s

ana lysis of Findings and Recommendations.      rn fact, on pg 7 of the Find ings and
Recommendations Exhibit 2. the Magistrate clearly states that '· ... the Plaintiff s sworn

statements themselves are adequate to estab li sh the existence of a seri ous med ical need," and

" .. . the County ' s own medical records establi sh the se riousness of his medica l conditions."

        Clearly this is an attempt to fabricate an issue where there is none. There is no

indication that any of the facts from the story were relied upon by the Magistrate at all in his


IO -PLAI NT IFF' S RESPONSE TO DEFENDANT' S OBJECTION TO MAG I ST RATE JUDG E OF FI N' S
FIN DINGS AND RECOMMEN DATIONS REGARDING SUMMARY JUDGMEN T
        Case 6:15-cv-02336-TC         Document 89      Filed 08/27/19     Page 11 of 11




conclusions about thi s moti on. What is clear is that the Defendant has been caught with very

bad facts that they cannot escape and try to elude by claiming impermissible burden shifting.

The Defense never met it burden, eluded answers, was evasive and not fo rthcoming.

       For the reasons set forth in this response and based on Magistrates Judge Coffin 's

Finding and Recommendations, we respectfully ask thi s Court to fo ll ow the recommendation

that Defendant's Motion for Summary Judgment be denied.



                     1
       Dated thi s 27 h day of August, 201 9.
                                                     Respectfully submitted,


                                                     ls/Jose Cienfuegos
                                                     Jose C ienfuegos OSB 0 10280
                                                     Attorney fo r Plainti ff




II -PLAI NTIFF ' S RESPONSE TO DEFENDANT ' S OBJECTION TO MAGISTRATE JUDG E OFFIN ' S
FINDINGS AND RECOMMENDATIONS REGARDING SUMMARY JUDGMENT
